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     Welcome to the MakerDAO Forum! The following points will allow you to better understand
     governance and the forum.

     Respectful and good-faith discussion should be the cornerstone of any decision-making process. In
     trying to enact change, please keep this principle in mind.

     MakerDAO’s governance has on-chain (Voter Portal) and off-chain (Forum) components.
     Community-driven discussions, well-reasoned arguments, and voting in this forum all have the ability
     to influence the Maker Protocol without the need for tokens. Here are some tips on navigating the
     forum:




  DAIF CU Update - Q4 2022
        cu-update       daif-001


     sorenpeter Dai Foundation Core Unit                                                                         12d

     A Happy New Year to the MakerDAO Community!

     Here is the update from Dai Foundation Core Unit for Q4 2022.

     While I normally try to keep a similar structure and flow for the quarterly update, there are two
     topics that I want to highlight and thus address in the beginning of this update.

     Legal Complaint against MakerDAO

     A legal complaint against MakerDAO has been brought forward to a US court. The lawyer of the
     plaintiff has attempted to serve the court order in the same way CFTC went about in its
     complaint against Ooki DAO posting the complaint on discussion forums etc.
     Dai Foundation is not party to this complaint, and will not join as such given the strict legal
     mandate of Dai Foundation which limits our scope to safeguarding MakerDAO intangible assets.
     Our current view that we find this complaint baseless, but if unopposed, it can set a precedent
     where plaintiffs can be emboldened to raise complaints against DAOs for infringing very vague
     and broad software patents.
     Therefore, we follow the case closely, discuss it with legal experts & industry partners, and offer
     support to DeFi industry organizations that are ready to engage. We expect this to be developing
     over the coming period and be part of our role to monitor.

     Return of Budget Funds

     On December 28, 2022 DAIF CU returned 85,000 DAI to DssBlow. This is in accordance with the
     requirement in MIP40 that states “Every three months starting September 30th, 2022 Core Units
     will be required to return all funds in excess of three months of budget.”
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     There are several reasons for this surplus - just three months after DAIF CU had a new budget
     approved. They include:

            An ongoing infringement case/coexistence negotiation is drawing out. Legal expenses
            budgeted for 2022 have not been used (but are rather expected in 2023)
            The appointment of an extra board member Maker Governance happened later than
            budgeted
            We have worked with service providers to reduce expenses all across the board
            The yearly physical board meeting was planned to happen in Q4 2022, but it has been
            pushed to 2023. The travel expenses budgeted for this have thus not been used yet.

     In the remainder of this post will now revert to the same structure and flow as out former quarterly
     updates.:

     Handover of new assets to Dai Foundation for safeguarding

     In Q4, Core Units handed over the following assets to Dai Foundation for safeguarding:

            From GovComms CU: the domain makerdao.world
            From DUX CU: the Twitter account @MakerDUX
            From Growth CU: the MakerDAO Lens account

     Content Management access has been grandfathered to GovComms (until offboarded) and DUX.

     As for the MakerDAO Lens account there is no application that currently enables delegating
     Content Management to another Externally Owned Accounts (EOA), but it is possible with the
     Lens Protocol. It is thus possible to request to manage the MakerDAO Lens account, but it will
     currently require development of software to enable the delegation of the content management
     access.

     Status and Reporting of Scamming sites

     Unfortunately, there still are scammers out there trying to infringe on the Maker and Dai
     trademarks, so we still need to dedicate resources to fight these scammers.

     To see which scamming sites we are aware of, please check

     Abuse-reports.makerdao.com

     This page is managed by Techops. The newest reports are shown first, but you can also sort the
     list according to the status of the scamming site or any of the other columns.

     If you have come across a scammer that is not in the list you can report it by

            Reporting it in the MakerDAO Discord
            In the techops-public channel or
            In the dai-foundation-public channel
            Sending an email to abuse@makerdao.com

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     Trademarks   content

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     The trademark infringement case that we have reported about most of 2022 is still ongoing. There
     has however not been any major developments since our last update. Most importantly for the Dai
     Foundation is, that we do not degrade our ability to protect the strong DAI, MAKER, and
     MAKERDAO trademarks moving forward, and we thank the entire community for your support in
     pursuing this.

     Ensuring DAO access to assets funded by the DAO

     Our questions to Core Units whether assets produced with MakerDAO funding will become public
     goods have put the spotlight on an area that does not always get sufficient attention in busy day
     to day operations.

     You can find all Public Goods Questions main documents and check the answers given (if any so
     far) using this link:

     https://forum.makerdao.com/tag/public-good-questions

     In Q4 I was in dialogue with several core units that promised to commit resources in Q4 to ensure
     proper open source licensing, copyright assignments etc. In Q1 we will follow up with these Core
     Units to hear about their results.

     Adding MakerDAO appointed board member

     We had two great candidates for the one board member position to be appointed by Maker
     Governance.

     The winner of the election poll was Paul Imseih aka @Daimon-Law .

     The board is now working to add Paul Imseih to the board per January 2023 and look forward to
     his contribution and insights…

     Conference participation

     I went to Devcon in Bogota, but broke my knee cap on the first day which meant I couldn’t be at
     the conference nor meet the stakeholders. This was unfortunate as I think it is important to meet
     in person from time to time, but you can always reach me and the board virtually via our Discord
     channel and the Forum if you have any questions or ideas. I also want to extend a huge thank
     you to the Maker community at Devcon that helped me find proper treatment, and help in so many
     other ways. Thanks Maker Family!

     Budget and Expense reporting

     You can follow our reporting of the DAIF Core Unit expenses in the MakerDAO Expenses
     Dashboard from SES - Check it out.

     Makerdao Github Cleanup

     The Makerdao Github classification and cleanup is done for the majority of repositories.

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               several documentation initiatives that unfortunately haven’t had the resources to stay
     up to date. For several of these it wasn’t possible to find somebody that would step up as content
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     managers, so they had to be discontinued.

     Further, it has been found that the following frontends also are orphaned and have to be
     discontinued unless somebody before the end of Q1 2023 are ready to step forward and take
     responsibility for their maintenance:

     chief.makerdao.com

     redeem.makerdao.com

     (FYI ^ @prose11 @Patrick_J )

     We will now continue our work on agreeing with an external actor to take over the management of
     the MakerDAO github to reduce bureaucracy. Dai Foundation will maintain the ability to switch
     management providers for the github project if needed.

     Dai Foundation Grants

     The Dai Foundation board awarded a grant to write a white paper in 2022, and a white paper
     discussing FINDING DAO IN ORGANISATION THEORY was written.

     We are now in dialogue with the authors about ways to present and elaborate on the content in
     the white paper.

     Endgame alignment

     Endgame or no Endgame the Dai Foundation mandate remains clear. However the Dai
     Foundation board is very much aware that the Dai Foundation also has to find its place in the
     Endgame universe in how it interprets its mandate and from a practical point of view.

     How the SubDAOs can and will manage their intangible assets is still an open question for which
     the answer has to wait on further elaboration of what degrees of freedom Maker Governance will
     give the SubDAOs .

     As MakerDAO evolves with SubDAOs Dai Foundation will need to evolve our understanding of
     which layers there are in the Maker Protocol including what is the Core and how to relate to the
     others layers. This is a dependency on more details being fleshed out for the Endgame
     implementation, and we will follow and interpret that work closely.

     This was the high level update for the past quarter. As always feel free to reach out with questions
     here or one to one, we are here to serve the community in the capacity laid and in line with the
     DAI Foundation Purpose.

     All the best

     Your DAIF CU Facilitator



     smartcontracts                                                                                              11d
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     Great update. On the Legal Complaint item, someone should be making the case to the courts or
     the judge that Maker is probably the systemically important financial institution (SIFI) for the U.S.
     defi ecosystem including Gemini, Coinbase, Paxos, HVB, Blackrock, Tesla, and lots more. Maker
     is critical to the sustainability of U.S. defi.




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